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2017R00153

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                      :       Crim. No. 18-505 (RBK)

       v.                                     :       HON. ROBERT KUGLER

KENNETH CRAWFORD JR.                          :

                      UNITED STATES NOTICE UNDER RULE 404(b)

       The United States is providing notice of its intent to introduce certain evidence under

Rule 404(b) of the Federal Rules of Evidence. Although we contend that the evidence

identified in this notice is inextricably intertwined with the offense conduct, and therefore

admissible independent of Rule 404(b), we provide this notice out of an abundance of caution.

       The United States intends to introduce evidence that (1) prior to recruiting clients to

participate in the “Mortgage Recovery Program” described in the indictment, the defendant, for a

fee, attempted to eliminate these clients’ mortgages through the creation and filing of fictitious

documents, including “Private Registered Setoff Bonds;” (2) prior to recruiting clients to

participate in the “Mortgage Recovery Program” described in the indictment, the defendant, for a

fee, provided these clients with frivolous and fraudulent pleadings to mail their lenders and file

in foreclosure proceedings in order to prevent foreclosure; and (3) the defendant failed to file tax

returns for 2015 and 2016 reporting the income he received from clients who participated in the

mortgage recovery program.

       This evidence was included in the discovery hand-delivered to the defendant at a status

hearing on February 8, 2019.     To the extent the evidence described above is not inextricable

intertwined with the offense conduct, it is admissible under Rule 404(b) because it proves

motive, intent, and knowledge.
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                                              Respectfully submitted by:

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                                              _/s/Sean M. Green_________________
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                                  CERTIFICATE OF SERVICE

I hereby certify that on this 27th day of March, I filed this notice via ECF and caused a copy to be
mailed to:

Ken Crawford Jr.
Inmate 71800-050
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                                          By:/s/ Sean M. Green
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